        Case 8-22-73277-ast               Doc 17          Filed 02/03/23   Entered 02/03/23 12:39:54




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x             Case No: 22-73277
IN RE:
                                                                    AFFIDAVIT OF COMPLIANCE
         Jeffrey A WIlkens
                                       Debtor.
------------------------------------------------------x

       The undersigned affiant _Jeffery A Wilkens__, (hereinafter “Debtor”) being first duly
sworn and under penalty of perjury, deposes and states in support of confirmation of the above
captioned bankruptcy case that:

(Must check either A or B)

1._____ (A) The undersigned Debtor has domestic support obligations pursuant to 11 U.S.C.
Section 101(14)A and has paid all domestic support obligations required to be paid pursuant to
11 U.S.C. Section 1325(a)(8).

  ___X___ (B) The undersigned Debtor does NOT have domestic support obligations pursuant
to 11 U.S.C. Section 101(14A).

(Must check either A or B)

2.__X____ (A) The undersigned Debtor is required to file tax returns and has filed all applicable
and required Federal, State and local tax returns pursuant to 11 U.S.C. Section 1308.

 ______ (B) The undersigned Debtor is NOT required to file tax returns.


By signing this affidavit, I acknowledge that all statements contained herein are true and
accurate and that the Trustee may rely on the truth of each of these statements in making
its recommendation to confirm the Chapter 13 plan. The Trustee may seek revocation of
the Chapter 13 plan if the statements relied upon are not accurate.


                                                              Jeffrey A Wilkens
                                                           ______________________________
                                                                       Debtor


Sworn and subscribed before me this

the___3___ day of ___February___, 2022.

     Ronald D Weiss
________________________________
Notary Public
Ronald D. Weiss
Notary Public, State of New York
NO. 02WE5041400
Qualified in Suffolk County
Commission Expires 4/3/23
